1     Edward J. Maney
      Chapter 13 Trustee
2     101 N. First Ave., Suite 1775
      Phoenix, Arizona 85003
3     Telephone (602) 277-3776
      ejm@maney13trustee.com
4
                               IN THE UNITED STATES BANKRUPTCY COURT
5                                     FOR THE DISTRICT OF ARIZONA

6     In re:                                            )      CHAPTER 13 PROCEEDINGS
                                                        )
7                                                       )      CASE NO. # 2: 24-bk-00973-EPB
                   JEFFREY S. MOFFITT,                  )
8                  ELLENANNE MOFFITT,                   )      TRUSTEE'S EVALUATION AND
                                                        )      RECOMMENDATION(S) REPORT WITH
9                                                       )      NOTICE OF POTENTIAL DISMISSAL IF
                                                        )      CONDITIONS ARE NOT SATISFIED
10                                                      )      RE: CHAPTER 13 PLAN
                                       (Debtor(s)       )      Docket #11      filed February 12, 2024
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                Edward J. Maney, Trustee, has analyzed the Debtors’ Chapter 13 Plan and supporting
13
           documents and submits the following evaluation and recommendation(s):
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15    General requirements:

16         a.   Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
                all proofs of claim filed with the Court and resolve any discrepancies between the claims and
17              the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
                submit a copy of the Court’s Claims Register with any submission of the Order Confirming.
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       b.       Requests by the Trustee for documents and information are not superseded by the filing of an
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                amended plan or motion for moratorium.
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       c.       The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21              Confirming Plan unless an amended or modified plan is filed and noticed out.

22     d.       The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                copies of their federal and state income tax returns for every year during the duration of the
23              Chapter 13 Plan. This requirement is to be included in any Order Confirming.

24     e.       The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                Order shall not constitute an informal proof of claim for any creditor.”
25
      f.        The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26              remit all payments on or before the stated due date each month. Debtor is advised that when
                payments are remitted late, additional interest may accrue on secured debts, which may result in
27              a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
                Case can be discharged. This requirement is effective regardless of Plan payments
28              suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

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4      g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
            on all required tax filings and any domestic support orders.
5
       h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
6           Confirming, that they are current on all payments that have come due on any Domestic
            Support Orders since the filing of their case and that they are current on all required tax return
7           filings [pursuant to 11 U.S.C. §1308].
8      i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
            accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
9           Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
            Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
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            counsel.
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14    Specific Recommendations:

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16    1.    The Chapter 13 Plan states that Santander Consumer U.S.A, Inc. (2021 BMW 5) will be paid
            an amount greater than that listed on the proof of claim [#4] filed February 29, 2024. The
17          debtor(s) may use the lesser claim amount in the Stipulated Order Confirming Plan.

18    2.    The Internal Revenue Service's proof of claim [#13] dated April 2, 2024 indicated Debtor has
            not filed income tax returns for 2018, 2020 and 2021. The Trustee requires Debtor to
19          immediately prepare and file all unfiled tax returns. Failure to file said returns or the
            required Affidavit within 30 days from the date of this Trustee's Recommendation and
20          providing a stamped copy of said returns may result in the Trustee lodging an Order
            automatically dismissing Debtor's case.
21
      3.    The Trustee requires the debtors supply a copy of statements that reveals the balance on
22          hand in all four (4) financial/bank accounts on the date of the filing of the case.

23    4.    The Trustee requires a completed and signed copy of Debtor(s) 2023 State and Federal tax
            returns, W-2’s and 1099’s. The Trustee informs the debtors that should these returns reveal
24          significant tax refunds, if allowed to continue, this would constitute a diversion of disposable
            income. In that case, unless the plan is confirmed at 100% repayment to all creditors the
25          Trustee would require the Debtor(s) adjust payroll tax deductions to prevent over- or under-
            withholding, amend Schedule I increasing Plan payments accordingly and provide two
26          consecutive paystubs to verify this has been corrected or turn over tax refunds 2024, 2025,
27          2026, 2027 and 2028 of the Plan as supplemental Plan payments.

28    5.    The Trustee requires the Debtors provide complete information and documentation
            regarding the pending workers comp. claim referenced on Debtors Schedule B.

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      6.     The Arizona Department of Revenue and Martin & Linda Latz have both filed objections to the
5            Plan. The Trustee requires the objections be resolved prior to confirmation of the Plan.
6     7.     Considering items #2, #3 and #6 above, the Trustee's analysis reveals a $119 funding shortfall,
             which must be cured before the Plan can be confirmed.
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9             In summary, the Plan can be confirmed subject to the condition(s) noted above, adequate
      funding, and timely filed Stipulated Order Confirming, and Court approval. The Trustee requires that
10    any Stipulated Order Confirming contain the “wet” signatures from the debtors (where
      applicable), debtors counsel and objecting creditors if there are any.              General unsecured
11    creditors (including secured creditors with unsecured deficiency balances) will be paid through the
      Trustee, subject to timely filed and allowed claims. Chapter 7 reconciliation requirement must be met
12    given debtors scheduled equity in non-exempt property at petition date. You are hereby advised that
      the Trustee may lodge an Order of Dismissal should Debtor fail to resolve item(s) #2, #3, #4, #5,
13    #7 above and submit a Stipulated Order Confirming to the Trustee for review and signature or
      request a hearing within 30 days from the date of the mailing of this Trustee's
14    Recommendation.

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16

17    Date See Electronic Signature Block

18
                                                          EDWARD J. MANEY,
19                                                        CHAPTER 13 TRUSTEE
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22
                                                                            Digitally signed by
23
                                                          Ross M. Mumme, Ross M. Mumme,
                                                                            Esq. on behalf of
24                                                        Esq. on behalf of Edward J. Maney
                                                          Edward J. Maney Date: 2024.05.06
25
                                                  By:                       12:37:59 -07'00'
                                                         _______________________________
26                                                        Edward J. Maney ABN 12256
                                                          CHAPTER 13 TRUSTEE
27                                                        101 North First Ave., Suite 1775
                                                          Phoenix, Arizona 85003
28                                                        (602) 277-3776
                                                          ejm@maney13trustee.com
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5      Copies of the forgoing
       mailed on [see electronic signature],
6      to the following:

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8
       Jeffrey Moffitt
9      Ellenanne Moffitt
       5218 W. Pinacle Vista Drive
10     Phoenix, Arizona 85083

11

12
       Thomas A. McAvity, Esq.
13     PHOENIX FRESH START
       4131 Main Street
14     Skokie, IL 60076-2780
       Debtors’ counsel
15

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                                   Digitally signed by Tom
21            Tom Bellows Bellows
                          Date: 2024.05.06 12:58:21
       By:                         -07'00'
22            Trustee’s Clerk

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